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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SILVON S. SIMMONS,

                               Plaintiff,

         -vs-

JOSEPH M. FERRIGNO, II, SAMUEL           Civil Action No. 6:17-cv-06176-MWP
GIANCURSIO, MARK WIATER, CHRISTOPHER
MUSCATO, ROBERT WETZEL, MICHAEL L.
CIMINELLI, JOHN DOES 1-20, CITY OF
ROCHESTER, SHOTSPOTTER, INC., SST, INC.,
JOHN DOES 21-30, and PAUL C. GREENE,

                               Defendants.




                    MEMORANDUM OF LAW BY DEFENDANTS
                SHOTSPOTTER, INC., SST, INC. AND PAUL C. GREENE
                     IN OPPOSITION TO PLAINTIFF’S FIFTH
                       MOTION TO COMPEL DISCOVERY




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                                  PRELIMINARY STATEMENT

         Defendants ShotSpotter, Inc., SST, Inc., and Paul C. Greene (collectively, “ShotSpotter”)

by and through their attorneys Barclay Damon LLP, Kilpatrick Townsend & Stockton LLP, and

Law Offices of Jordan Trent Jones, submit this Opposition to Plaintiff Silvon S. Simmons

(“Simmons” or “Plaintiff”) Fifth Motion to Compel Discovery (the “Motion” or “Plaintiff’s

Motion,” Dkt. No. 102).

         In the Notice of Motion, Plaintiff requests four specific forms of relief and includes a fifth

catchall for “such other and further relief as the Court may deem just and proper.” Below,

ShotSpotter addresses each of the four requests. Just as the Court should deny each of the four

specific requests, the Court should not grant Plaintiff any “other or further relief.”

                                               POINT I

    THE COURT SHOULD DENY PLAINTIFF’S REQUEST FOR SUMMARY
JUDGEMENT THAT CERTAIN RULE 26(A)(2)(C) DISCLOSURES ARE SUFFICIENT

         Plaintiff’s Motion seeks summary judgment that certain witnesses who may provide expert

testimony on behalf of Plaintiff are not “retained experts” as set forth in Fed. R. Civ. Proc. 26 and

are thus subject to the disclosure requirements of Rule 26(a)(2)(C) but not the report requirements

of Rule 26(a)(2)(B).

         Plaintiff’s request was not teed up by any affirmative assertion that a report was required,

but by ShotSpotter’s refusal to stipulate that one was not. To wit, on February 1, 2022, in response

to a long missive from Simmons, ShotSpotter responded: “After due consideration, the ShotSpotter

defendants will not enter the stipulation that seems to be contemplated by you[r] letter.” Jones

Decl. ¶ Ex. 1 (bracketed text not in original).

         ShotSpotter’s refusal to stipulate that Simmons’ had followed the rules is entirely proper.

The Federal and Local Rules set out various obligations and standards. It is the obligation of the


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parties to follow them and for the Court, as necessary and appropriate, to enforce them. But in no

instance, and certainly not in this instance, is one party obligated to verify an adverse party’s

compliance with those rules, much less stipulate to that compliance.

         The relevant facts are simple: Plaintiff disclosed certain individuals pursuant to Rule

26(a)(2)(C). ShotSpotter has not challenged the sufficiency of that disclosure. Plaintiff now seeks

a declaration that the disclosures were, as a matter of law and fact, sufficient and complete.

         Plaintiff may well be correct that it has discharged all of its obligations and that the

testimony it procures from these individuals will be consistent with the disclosures made. But it

would be improper to make such a dipositive decision at this time. As the litigation proceeds,

evidence, including further expert disclosures or trial testimony by the disclosed individuals or

others, may demonstrate that the Rule 26(a)(2)(C) disclosure was insufficient or that a Rule

26(a)(2)(B) report was necessary. At this point in time, when fact discovery remains open and

when the relevant individuals have yet to testify, Plaintiff cannot conclusively demonstrate that

the Rule 26(a)(2)(C) disclosures were complete or sufficient, and the Court should not issue a

summary judgment to that effect.

                                             POINT II

    THE COURT SHOULD DENY PLAINTIFF’S REQUEST FOR LEAVE TO TAKE
               FURTHER DEPOSITIONS OF FACT WITNESSES

         Plaintiff’s Motion also seeks leave to take further depositions of fact witnesses. None of

the witnesses Plaintiff seeks to depose are affiliated with ShotSpotter and ShotSpotter has not been

asked to produce any witnesses for further depositions.

         ShotSpotter has no position on the necessity of these depositions, but notes that Plaintiff

Simmons has taken nearly 30 depositions of fact witnesses already, far in excess of the limit (“10”)

imposed by Federal Rule of Civil Procedure 30, without leave of Court. Although the excess


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deposition are not of witnesses affiliated with ShotSpotter, they still impose a burden because

ShotSpotter must monitor correspondence related to the depositions, attend the depositions, and

review the transcripts. For this reason, ShotSpotter opposes any requests by Plaintiff Simmons to

take additional depositions.

                                                    POINT III

      THE COURT SHOULD DENY PLAINTIFF’S REQUEST TO CONTINUE THE
                    CURRENT SCHEDULE BY 60 DAYS

         This is at least Plaintiffs’ fifth request to extend the schedule. See Dkt. Nos. 55, 60, 69,

and 86. This time, Plaintiff seeks to extend the current scheduling order (Dkt. No. 97) by an

additional 60 days. ShotSpotter opposes this request. If the Court is inclined to grant it, ShotSpotter

reiterates its long-standing request that the Court maintain the current schedule for expert

discovery and dispositive motions as to the claims against ShotSpotter.

         Also, Plaintiff requested the extension so as to be able to notice and depose: (1) Anthony

Sutera, (2) Lisa Bobo, (3) Steven J. Mickle, (4) Bill Boudreaux, (5) Brandon LaSage, (6) Rick

Wright, (7) Tricia (last name unknown), (8) Stefanie Conte, (9) Laszlo Tordai, and (10) Michael

Ciminelli. Jordan Decl. ¶ 4, Ex. 2. Of those witnesses, one (the last) was named in Dkt. No. 97 and

two more (numbers 8 and 9) were referenced by Plaintiff in correspondence regarding prior

motions to compel. If the Court does allow a further continuation of the schedule, it should be for

the sole purpose of allowing depositions of those three witnesses. Those three depositions that can

surely be completed within three weeks of the Court ruling on the matter.1




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  For months, counsel for ShotSpotter has repeatedly, via telephone and via written correspondence, urged counsel
for the other defendants and counsel for Plaintiff to complete the depositions of these three witnesses. Because
counsel for ShotSpotter does not control or represent these witnesses, it is dependent on other counsel to discharge
their obligations.

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                                             POINT IV

 THE COURT SHOULD DENY PLAINTIFF’S REQUEST FOR SANCTIONS AGAINST
                   SHOTSPOTTER OR ITS COUNSEL

         Plaintiff’s Motion includes an audacious request for sanctions against ShotSpotter “and/or”

its counsel for alleged refusal to comply with the Court’s orders in Dkt. No. 97. In essence, Plaintiff

seeks to sanction ShotSpotter for declining to consent to extend the discovery schedule and thereby

enable Plaintiff’s continued violations of Rule 30 (requiring leave of court for more than ten

depositions). Plaintiff seeks these sanctions despite refusing to meet and confer on the issue when

requested to do so by ShotSpotter. In essence, Plaintiff seeks sanctions because ShotSpotter will

not consent to Plaintiff’s continuing violations of Rule 30, and the subject of the violations

(multiple prohibited depositions) are too important for Plaintiff to discuss in a good faith meet and

confer. If ever there was a time to employ the term “chutzpah” in a legal brief, this is it.

         Preliminarily, with respect to the orders Plaintiff claims were violated, ShotSpotter has

fully complied with them to the extent they apply to ShotSpotter. The order required the Parties to

submit by December 1, 2021, a letter to the Court regarding the scheduling of depositions of

“Michael Ciminelli, Nicholas Pettiti, Phong Huynh, Michael Hughes and Rural Metro Ambulance

personnel.” The order in Dkt. No. 97 also called for “all factual discovery, including depositions”

to be complete by February 18, 2022.

         As to the depositions that were specifically allowed, ShotSpotter has no relationship with

those witnesses and its counsel does not represent them. ShotSpotter has not interfered with the

other parties’ efforts to schedule those depositions and has cooperated when asked.

         As to the deadline for completion of fact discovery, all fact discovery related to

ShotSpotter, including depositions it noticed and depositions noticed of it, has been complete since

approximately March 2021. See Jones Decl. ¶ 5.


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         The gravamen of Plaintiff’s sanctions request against ShotSpotter appears to be that on

February 1, 2021, ShotSpotter refused to stipulate to a continuation of the discovery schedule to

enable an additional ten depositions. Of note and as stated above, this is at least the fifth time

Plaintiff has sought a continuation of the discovery schedule, and it seeks to do so for numerous

new witnesses (in violation of Rule 30).

         Plaintiff has not put the previous extensions to good use. For example, Plaintiff has a

history of noticing wasteful depositions without even attempting to determine if the witnesses has

any material, discoverable information. This is illustrated by the highlighted portion of the below

excerpt of the transcript of the February 2, 2022 deposition of Rural Ambulance witness, Edward

Morrison.




         In any event, as set forth in the previous section of this opposition, ShotSpotter’s refusal to

stipulate to a continuation was entirely proper, not least because at the time of refusal, there were

still eighteen days left for the other parties to comply with the schedule set forth in Dkt. No. 97

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and because ShotSpotter has no obligation to stipulate to a schedule change so as allow Plaintiff

Simmons to take depositions in excess of the amount allowed by, and in violation of, the Federal

Rules.

         To wit, Plaintiff’s sanctions request arises out of this eminently reasonable correspondence

on February 1, 2022:

                On behalf of the ShotSpotter defendants, we do NOT agree that an
                extension is necessary. In addition, the number of depositions that
                have been taken in this case is excessive and wasteful. In addition,
                FRE Rule 30 limits the number of deposition a party can take to ten
                depositions without leave of court. At this point, Plaintiff has
                exceeded that number and additional are not permitted under the
                rules.

              We can meet and confer to discuss whether there is way for the
              parties to agree on some less excessive. If we can’t agree, then
              Plaintiff will need to seek relief from the court. Again, the
              ShotSpotter defendants will oppose such a request.
Jones Decl. ¶ 4, Ex. 2.

         Although this correspondence accurately and correctly explained that Plaintiff had already

taken nearly triple the number of depositions allowed under the rules and properly declined to

stipulate to yet another continuation of the discovery schedule, ShotSpotter nonetheless included

an invitation to meet and confer. Plaintiff Simmons refused to meet and confer: replying later that

day that that “[m]eeting and conferring will not work here since we cannot agree to limit the

number of depositions of the remaining witnesses.” Jones Decl. ¶ 4, Ex. 2. The next ShotSpotter

heard on the issue was when it was served with the pending Motion.

         In this context, Plaintiff Simmons’ request for sanctions against ShotSpotter and/or its

counsel is not just lacking in merit, it is frivolous and quite possibly sanctionable itself. In any

event, it should be denied.




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                                         CONCLUSION

         ShotSpotter has been ready to proceed to expert discovery and dispositive motion practice

for a full year’s worth of continuations. During that time, ShotSpotter has fully cooperated with

efforts by the other parties to complete fact discovery, but there is no reason to excuse further

delay. All of Plaintiff Simmons’ requests should be denied. If any continuation of the schedule is

ordered, it should not apply to the claims against ShotSpotter: expert discovery and dispositive

motions on those claims should proceed as currently scheduled. If the Court does not sever the

ShotSpotter matters, then any continuation should be only for the deposition of the three previously

identified witnesses and should be for no more than three weeks from the Court’s ruling.

DATED: March 8, 2022                                 Respectfully submitted,

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